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         EXHIBIT B
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   c12)   United States Patent                                                             (IO) Patent No.:                     US 9,757,552 B2
          Jansen et al.                                                                    (45) Date of Patent:                            Sep.12,2017

   (54)   APPLICATOR FOR INSERTING AN                                                 (58)    Field of Classification Search
          IMPLANT                                                                             CPC ...... A61M 37/0069; A61M 2005/3228; A61M
                                                                                                                           31/007; A61B 17/3468
   (75)   Inventors: Willem Jansen, Lieshout (NL);                                                             (Continued)
                     Maurice Petrus Wilhelmus Tak,
                     Hengelo (NL); Hendricus Johannes
                                                                                      (56)                        References Cited
                     Vertegaal, Hengelo (NL); Iris Epkjen
                     Hobo Van Der Graaf, Deventer (NL)                                                   U.S. PATENT DOCUMENTS
   (73)   Assignee: MERCK SHARP & DOHME B.V.,                                                1,655,158 A           1/1928 Muir
                    Haarlem (NL)                                                             4,994,028 A           2/1991 Leonard et al.
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   ( *)   Notice:      Subject to any disclaimer, the term ofthis
                       patent is extended or adjusted under 35                                      FOREIGN PATENT DOCUMENTS
                       U.S.C. 154(b) by 1650 days.
                                                                                      EP                   0631794             1/1995
   (21)   Appl. No.:           11/795,805                                             EP                   1300129 A2          4/2003
                                                                                                                     (Continued)
   (22)   PCT Filed:           Jan.20, 2006
                                                                                     Primary Examiner - Emily Schmidt
   (86)   PCT No.:             PCT/EP2006/050346                                     Assistant Examiner - Lauren M Peng
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          (2), (4) Date:       May 27, 2008

   (87)   PCT Pub. No.: WO2006/077250                                                 (57)                          ABSTRACT
          PCT Pub. Date: Jul. 27, 2006                                                The invention pertains to an applicator (1) for inserting an
                                                                                      implant, in particular a rod-like implant (2) containing an
   (65)                     Prior Publication Data                                    active substance, under the skin of a human or animal,
                                                                                      comprising a housing (3), a cannula (6), a cannula holder
          US 2010/0298807 Al               Nov. 25, 2010
                                                                                      (9), an implant (2) accommodated inside the cannula (6)
   (30)             Foreign Application Priority Data
                                                                                      and/or the cannula holder (9), a protective cover (7) for the
                                                                                      cannula (6), and a mechanism (22, 23, 7) which, at least after
     Jan. 24, 2005         (EP) ..................................... 05100418        the cover (7) has been removed from the cannula (6), secures
                                                                                      the implant (2) inside the cannula (6) and/or cannula holder
   (51)   Int. Cl.                                                                    (9). The mechanism (22, 23, 7) disengages the implant (2)
          A61M 37100          (2006.01)                                               during insertion of the cannula (6) or after the cannula (6)
          A61M 31/00          (2006.01)                                               has been inserted. Substantially no lateral force will be
   (52)   U.S. Cl.                                                                    exerted during the expelling of the implant from the cannula.
          CPC ...... A61M 3710069 (2013.01); A61M 31/007
                                                (2013.01)                                               25 Claims, 4 Drawing Sheets




                                                         8        12               9                         21           10           18A 17




            7A 7 22 6                  2        23                                                                                   19A
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   (58)    Field of Classification Search                                              6,626,863 Bl * 9/2003 Berler ........................... 604/110
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           See application file for complete search history.                       2003/0059471 Al* 3/2003 Compton et al. ............. 424/489
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          6,402,716 Bl   6/2002 Ryoo et al.
          6,592,508 Bl   7/2003 Ravins et al.                                  * cited by examiner
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                                                                                       15
                                                                              6

                        Fig.1                                                 Fig.2


                    8           15   16                         4         5        3




                                                                                              Fig.3
                                     8    12                         21       10            18A 17



                                                                                        ~




        7A 7 22 6       2       23                                                          19A
                                                                                             Fig.4
                                                            8        12




               22                                   6               21             20        F',g. 5
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                        8 31             4




                                                         3




                                         Fig.9




       7A   7   6 32                                           Fig.10
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            APPLICATOR FOR INSERTING AN                                 It is an object of the present invention to provide an
                     IMPLANT                                         applicator which, on the one hand, secures the implant inside
                                                                     the cannula and/or the carmula holder and, on the other hand,
      The invention relates to an applicator for inserting an        facilitates avoiding damage to the implant, especially during
   implant, in particular a rod-like implant containing an active 5 insertion thereof.
   substance, under the skin of a human or animal, comprising           To this end, the applicator according to the present
   a housing, a cannula, a cannula holder, an implant accom-         invention is characterised in that the mechanism disengages
   modated inside the cannula and/or the cannula holder, a           the implant during insertion of the cannula under the skin of
   protective cover for the carmula, and a mechanism which           a human or animal or after the carmula has been inserted. It
                                                                  10 is preferred that the mechanism secures the implant inside
   secures the implant inside the cannula and/or the carmula
                                                                     the carmula upon removal of the cover and that the mecha-
   holder.
                                                                     nism disengages the implant prior to expelling it from the
      Such an applicator is known in the art.
                                                                     carmula.
      EP 0 631 794 relates to a device for administering                Thus, substantially no force will be exerted on the implant
   implants which comprises an active substance container 15 as long as the cover is in place, typically throughout storage,
   (denoted by numeral 1) with an injection cannula (6) and a        and substantially no lateral force will be exerted on the
   plunger (4). The plunger (4) is arranged in a plunger channel     implant as it is expelled from the cannula.
   (3). The plunger channel (3) merges continuously into the            It is further preferred that the mechanism comprises a
   lumen of the cannula (6). A holding device (5) for the            lever extending along at least part of the carmula, which
   implant (2) is arranged in the end of the plunger channel (3) 20 lever is rotatable and/or slidable and/or flexible between a
   on the lumen side. The holding device comprises two bolts         first position wherein the implant is secured, preferably
   ("Bolzen 7, 8") that form an obstacle ("Hindernis") for the       engaged by the lever itself, inside the cannula and/or the
   implant.                                                          carmula holder and a second position wherein the implant is
      US 2001/031940 relates to a device for administering           disengaged.
   implants. The device is a syringe-like device having a 25            If the cannula and/or the carmula holder comprises an
   plunger, an injection cannula, and an active substance con-       opening which allows access to the implant and the lever
   tainer therebetween. The active substance container includes      comprises a protrusion in register with this opening, the
   two retaining elements for preventing inadvertent dispens-        applicator can be constructed in a relatively straightforward
   ing of an implant. The retaining elements are flexible, and       yet effective manner. Furthermore, the protrusion will hinder
   may be O-rings.                                                30 the carmula from being retracted if no implant is present in
      U.S. Pat. No. 5,484,403 relates to a hypodermic syringe        the carmula.
   for implanting objects in the bodies of birds, fish, animals,        In a further preferred embodiment, the lever is biased
   and humans which consists of a barrel, a cannula attached to      towards the carmula and/or the carmula holder and (gently)
   one end of the barrel, and a plunger that can be moved back       urges the implant against the inner wall of the cannula or the
   and forth within the barrel. A user implants an object by 35 carmula holder.
   placing the object inside the carmula, making an incision            In a further preferred embodiment, the lever in its first
   with the cannula, and then pushing on the plunger thereby         position locks the cannula or the cannula holder, thus
   causing the object to move from the carmula through the           preventing movement in the longitudinal direction, and in its
   incision and into the body. The cannula is provided with a        second position unlocks the carmula or the cannula holder.
   means, in particular crimp regions (denoted by numeral 31 ), 40      The invention also pertains to an applicator comprising a
   for holding the implant object securely within the carmula        mechanism which if no implant is present in the cannula and
   from the moment of insertion of the object into the carmula       the cannula holder, locks the (removable) cover to the
   until the moment of implantation.                                 housing. Thus, removal of the cover and hence insertion of
      U.S. Pat. No. 5,395,319 relates to a needle (denoted by        a cannula is hindered or even prevented if no implant is
   numeral 12) with a sharpened point (14) at the tip end a 45 present in the carmula.
   needle holder (16) at the rear end holding the needle, a             This applicator preferably comprises a lever extending
   mandrel (24) which can be displaced inside the needle, and        along at least part of the cannula and rotatable and/or
   optionally a protective cap (18) enclosing the needle point       slidable and/or flexible between a position wherein the cover
   and detachably attached to the needle holder, with which          is locked (if no implant is present) and a position wherein the
   objects (10) such as long-term preparations, identification 50 cover is unlocked (if an implant is present).
   tags, or the like are to be inserted in the body of a living         It is noted that U.S. Pat. No. 5,906,599 discloses a device
   being. To ensure that it is unequivocally fixed in position       for delivering biological agents which includes a carmula for
   inside the needle, the object is arranged between a closure       insertion into tissue having a distal end with a notch formed
   towards the tip of the needle and, for example, a constriction    therein. A flexible membrane extending across the cannula
   (20) towards the handling end. At the needle point end, at 55 notch has a surface for supporting a quantity of a biological
   least a region of the lumen of the needle can be closed off       agent. A displacement member is disposed within the can-
   by an ointment-like material containing a medicinally active      nula for displacing the support surface of the membrane
   ingredient, which continues to adhere at least to regions of      laterally with respect to the cannula to deliver the biological
   the object during insertion. This provides at least a preven-     agent with precision to a tissue site or body cavity.
   tive measure against inflannnation. However, the closure 60          U.S. Pat. No. 1,655,158 discloses an instrument for
   can also be an adhesive material for example, or a silicone       implanting radon seeds which is composed of three ele-
   stopper.                                                          ments, namely, an implanter (1), a trocar (2), and a plunger
      Many implants, in particular implants that slowly release      (3). The implanter comprises a tubular body portion (4) and
   an active substance over an extended period of time, are          a needle (5).
   delicate. Bolts, O-rings, crimp regions, and other closures 65       WO 2004/089458 discloses a device for inserting
   inside the lumen of the carmula may cause damage to such          implantable objects beneath the skin of a patient which
   delicate implants.                                                includes a handle for grasping the device and a base con-
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   nected to the handle. The base comprises a post, a cannula,        under the skin of a human. The applicator 1 comprises a
   and a flexible actuator positioned in an angled track.             housing 3 consisting of two half-shells 4, 5, a metal cannula
      WO 01/68168 discloses a disposable device for inserting         6 (FIG. 2) accommodating the implant 2, a protective cover
   one or several implants, said device comprising a tubular          7 (FI GS. 1 and 4) comprising a pin 7A extending into the tip
   cannula (10) provided with a tip (11), said cannula also 5 of the cannula 6 to restrict the freedom of movement of the
   serving as a container for the implants, a plunger (20), and       implant 2, and an actuator 8 for retracting the cannula 6 into
   a handle (30) having a first end (31) directed towards the         the housing 3. The cannula 6 is fixed to a cannula holder 9,
   cannula (10) and a second end (32) directed away from the          which is slidably received inside the housing 3. To this end,
   cannula.                                                           the inner wall of each of the half-shells 4, 5 is provided with
      U.S. Pat. No. 5,827,297 discloses a device for transplant- 10 two parallel and longitudinal guides 10 (FIG. 6) and the
   ing small diameter hair grafts using a hand-held cutting           cannula holder 9 is provided with corresponding longitudi-
   instrument having a body holding the tool, a rotary cylin-         nal grooves 11. The cannula holder 9 is connected to the
   drical tool, and a drive assembly capable of driving the tool      actuator 8 by means of a flexible element 12, which, in this
   in rotation with respect to the body.                              example, forms an integral whole with the cannula holder 9
      U.S. Pat. No. 6,402,716 discloses a syringe assembly 15 and the actuator B. Depending on the configuration of the
   which includes a protection member to contain the ejecting         applicator, it may be more advantageous to employ a rigid
   elongated rod, a cover member to cover the needle with a           element and/or a separate actuator, flexible element, and
   small rod formed inside the closed end thereof, the small rod      needle holder which are connected upon assembly of the
   extending at a predetermined distance towards the needle           applicator.
   part to keep the same in place and to contain the injection 20        As can be seen in FIG. 6, the cannula holder 9 comprises
   materials therein.                                                 a collar 13 on its front (distal) end, at the transition to the
      U.S. Pat. No. 5,695,463 discloses an injection device for       cannula 6, and a notch 14 on its bottom surface near its rear
   intramuscular or subcutaneous injection of solid or semi-          (proximal) end. As will be explained below, these features
   solid medicaments. The device includes a main body mem-            serve to lock the cannula holder, and hence the cannula, in
   ber having a needle attached thereto. A protective sleeve 25 an extended and a retracted position, respectively.
   covers the needle and retracts into the main body member              The housing 3 comprises a handle 15 for grasping and
   when the device is pressed against the skin of a patient.          manoeuvring the cannula 6 during insertion. The handle 15
      U.S. Pat. No. 5,279,554 discloses a device for implanting       extends above, i.e. along and spaced from the cannula 6,
   an object, such as a hormone pellet or an electronic tran-         preferably to near the distal end of the cannula 6, and
   sponder, beneath the skin of an animal, which device 30 facilitates insertion of the cannula 6 and/or accurate posi-
   includes a hollow needle (1) with an actuating rod (11)            tioning of the implant 2. To further enhance grasping the
   slidable therein, a cover (2) movable relative to the needle       applicator and manoeuvring the cannula, it is generally
   to enable at least the sharp end of the needle to be shrouded,     preferred that the thickness of the handle and/or the bending
   and a locking mechanism in the form of an abutment (10)            stiffness are greater than the thickness and the bending
   movable into a rebate (6), from which it cannot then return. 35 stiffness of the cannula, respectively.
      U.S. Pat. No. 6,592,508 discloses an implantation device           On top of the handle 15, a track 16 is provided for guiding
   which includes an implantation needle having a bore extend-        the actuator 8. Guides (not shown) may be included, pref-
   ing longitudinally therethrough from a proximal end to a           erably just below the track 18, to retain and guide the flexible
   distal end, the needle bore being adapted to permit at least       element 12.
   one seed to pass therethrough.                                  40    A bracket 17 has been inserted in and snap-fitted to the
      The invention will now be explained in more detail with         rear end of the housing 3, by means of two resilient fingers
   reference to the drawings, which schematically show two            18, 19, each provided with a protrusion 18A, 19A. The lower
   preferred embodiments according to the present invention.          finger 19 further comprises, near its end, a wedge-shaped
      FIG. 1 is a perspective view of a first embodiment of an        protrusion 20. The bracket 17 also comprises a rod 21, which
   applicator in accordance with the present invention.            45 extends through the greater part of the housing 3 and into the
      FIG. 2 is a perspective view of the same applicator as in       cannula holder 9 and the cannula 6. In this example, the
   FIG. 1, with its protective cover removed.                         length of the rod 21 is adjusted to the length of the lumen of
      FIGS. 3 and 4 are, respectively, a top view and a cross-        the cannula holder 9 and the cannula 6 and the length of the
   sectional side view of the preferred applicator of FIG. 1,         implant 2, such that when the cannula 6 is in the extended
   with the cannula in art extended position.                      50 position, the implant 2 is fully contained inside the cannula
      FIG. 5 is a cross-sectional side view of the preferred          6 and typically abuts the distal end of the rod 21. When the
   applicator of FIG. 1, with the cannula in a retracted position.    cannula 6 is in the retracted position, the implant 2 is
      FIG. 6 is an exploded view of the preferred applicator of       completely expelled from the cannula 6 and the distal end of
   FIG. 1.                                                            the rod 19 extends from the distal end of the (retracted)
      FIG. 7 is a perspective view of the protective cover.        55 cannula 6.
      FIG. 8 provides top, cross-sectional, and rear views of a          A lever 22 has been pivotally connected to the front end
   lever used in the preferred applicator of FIG. 1.                  of the handle 15. The lever 22 is gently biased towards the
      FIG. 9 is a perspective view of a second embodiment of          cannula 6 by means of a metal spring (not shown) extending
   an applicator in accordance with the present invention.            between the lever 22 and an inner wall of the handle 15. In
      FIG. 10 is a cross-sectional side view of the preferred 60 the present preferred example, the lever 22 interacts with the
   applicator of FIG. 9, with the cannula in an extended              protective cover 7, the implant 2, and the cannula holder 9.
   position.                                                          To this end, the lever 22 comprises (from left to right in FIG.
      FIG. 11 is an exploded view of the preferred applicator of      8), a first protrusion 23 on its lower wall, a pair of lateral
   FIG. 9.                                                            protrusions 24 on its upper rim, and a vertically extending
      FIGS. 1 to 8 show a preferred disposable applicator 1 for 65 slot 25 in its rear wall.
   inserting an implant 2, in particular a rod-like implant              The protective cover 7 (FIG. 7) on its inner walls com-
   containing an active substance, such as a contraceptive,           prises a pair of ridges 26 which, in combination with
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  corresponding slots 27 on the outside of the half-shells 4, 5,     provide guidance as to where to grasp these respective parts
  impose sliding engagement between the cover 7 and the              15, 7. Similar protrusions 31 have been provided on the
  housing 3. The cover 7 further comprises, on its upper rim,        (upper) rim of the actuator 8.
  a pair of keys 28, each interrupted by a notch 29.                    Further, the cover 7 comprises, on its inner bottom wall,
     Finally, the cannula 6 comprises an opening 30 (FIG. 6) 5 a stay 32 preferably having, in its top surface, a V-shaped
  which allows the protrusion 23 to engage the implant 2 and         groove extending in the longitudinal direction of the appli-
  thus to gently urge the implant 2 against the inner wall of the    cator 1. Upon placing the protective cap 7 onto the housing
  cannula 6.                                                         4, 5, the stay 32 slightly lifts the cannula 6 and reproducibly
     With the protective cover 7 in place, the lateral protru-       defines the lateral position and height of the tip of the
  sions 24 of the lever 22 are supported by the keys 28 and the 10
                                                                     cannula 6 with respect to the pin 7A, thus preventing contact
  first protrusion 23 is just clear of the implant 2.
                                                                     between the tip of the needle and the inner walls of the cover
     If the protective cover 7 is removed, i.e. slid in longitu-
                                                                     7.
  dinal direction and away from the housing 3, the keys 28 will
  slide under the lateral protrusions 24. If no implant 2 is            The flexible element 12, interconnecting the actuator 8
  present inside the cannula 6, the protrusion 23 on the lever 15 and the cannula holder 9, comprises, preferably just below
  22 is free to enter the cannula 6 through the opening 30. I.e.,    the actuator 8 and on either side of the flexible element 12,
  the lever 22 will drop when the lateral protrusions 24 reach       lateral protrusions 33. The inner wall of the housing 4, 5 in
  the notches 29, thus blocking further movement of the cover        turn  comprises two corresponding stops 34, which prevent
  7, preventing the same from being removed and preventing           the protrusions 33 from passing and hence the actuator 8
  the applicator from being used any further. If an implant 2 20 from being pulled rearwards unintentionally. The lateral
  is present, the lever 22 will be lowered only very slightly,       protrusions 33 and stops 34 also prevent the cannula holder
  with the lateral protrusions 24 still clear of the notches 29,     9 and the cannula 6 from being pushed rearwards during
  and yet causing the first protrusion 23 to rest, through the       insertion.
  opening 30, on the implant 2, thus, on the one hand, allowing         A guide 35 for retaining and guiding the flexible element
  the cover 7 to be removed and, on the other, gently urging 25 12 is provided just below the track 16. The guide 35 is
  the implant 2 towards the inner wall of the cannula 6, i.e.        shaped to provide sufficient room below the actuator 8 to
  securing the implant 2 inside the cannula 6.                       enable it to flex sufficiently far downwards and allow the
     A medical professional can now take the applicator 1 in         lateral protrusions 33 to pass the stops 34, upon pushing the
  one hand, e.g. with the thumb on one side of the handle 15         actuator 8 down. Retracting the cannula 6 may thus be
  and the fingers on the other side, and insert the cannula 6 30 performed in one flowing movement, i.e. upon applying
  under the skin of a patient. During insertion, the handle 15       pressure to the actuator 8, typically with an index finger, the
  enables coordinated manoeuvring of the applicator 1 and the        actuator 8 flexes downwards, clearing the stops 34, and
  cannula 6 and careful lifting of the skin to facilitate insertion  subsequently rearwards to the retracted position.
  of the implant 2 at an appropriate depth. Skin on top of the          In contrast to the first embodiment, no collar (13) is
  cannula 6 will lift the lever 22 to such an extent that contact 35 present on the front (distal) end of the cannula holder 9.
  between the protrusion 23 and the implant 2 is removed, i.e.       Instead, two resilient lips 36 are provided on the rear
  the implant 2 is disengaged without requiring a specific           (proximal) end of the cannula holder 9. The inner sidewalls
  action by the medical professional, and the slot 25 in the rear    of the housing 4, 5 in turn comprise two corresponding stops
  wall of the lever 22 clears the collar 13 on the front portion     (not shown) that block rearward motion of the lips 33 and
  of the cannula holder 9, thus unlocking the latter. Subse- 40 hence define the longitudinal position of the cannula holder
  quently, the actuator 8 is unlocked and the cannula 6 is           9 in rearward direction. It is preferred that this mechanism
  pulled rearwards, e.g. with the index finger of the hand that      urges the cannula holder 9 into its most forward position, so
  holds the applicator 1. During this rearward motion, the           as to prevent the implant 2 from extending from the cannula
  implant 2 abuts the distal end of the rod 21 and maintains its     6. Upon actuation, the lips 33 will flex inwards and past the
  longitudinal position. Only limited friction occurs between 45 stops.
  the implant 2 and the inner wall of the cannula 6 and                 As will be clear from the explanations above, the pre-
  substantially no lateral forces are exerted on the implant 2.      ferred applicators according to the present invention (auto-
  When the needle holder 9 arrives at the fully retracted            matically) secure the implant inside the cannula upon
  position, the finger 19 (part of bracket 17) will flex down-       removal of the protective cover and (again, automatically)
  wards and the protrusion 20 on that finger 19 will snap into 50 disengage the implant when insertion of the cannula under
  the notch 14 on the lower surface of the needle holder 9,          the skin of a patient has been substantially completed.
  preferably sounding an audible click and indicating to the            Thus, the applicator according to the present invention is
  medical professional that the implant 2 has been inserted and      especially suitable for use with delicate implants, in particu-
  that the applicator 1 can be removed and discarded. The said       lar implants that slowly release an active substance over an
  protrusion 20 and notch 14 also form a lock that prevents the 55 extended period of time. A preferred example of such an
  applicator 1 from being used again.                                implant is a single-rod contraceptive implant that provides
     FIGS. 9 to 11 show a second embodiment of an applicator         protection against pregnancy for an extended period of time,
  in accordance with the present invention. The main differ-         e.g. 3 years. It consists of a non-biodegradable rod measur-
  ences from the first embodiment will be discussed below.           ing 40 mm in length and 2 mm in diameter. After insertion,
  Elements that are at least substantially identical to those in 60 the rod slowly releases a progestogenic hormone, viz.
  the first embodiment are denoted by the same numeral.              etonogestrel.
     In the second embodiment, the housing 3 consists of two            The invention is not restricted to the above-described
  side shells 4, 5 welded together (ultrasonically) and a            embodiments, which can be varied in a number of ways
  separate rear section 3A, which has been snap fitted to the        within the scope of the claims. For instance, instead of
  side shells 4, 5. The handle 15 and the protective cover 7 65 pivotally mounting the lever to the housing, the lever can be
  have been provided, on either side, with a relief, in this         made, either wholly or partially, from a flexible material that
  example a pattern of protrusions 31, to enhance grip and to        allows it to flex between its various positions.
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     The invention claimed is:                                         12. The applicator according to claim 1, further compris-
     1. An applicator for inserting a rod-like implant contain-     ing a second mechanism which, if no implant is present in
  ing an active substance, under the skin of a human or animal,     the cannula or the cannula holder, locks the cover to the
  comprising                                                        housing.
     a housing,                                                        13. The applicator according to claim 1, further compris-
     a cannula,                                                     ing an actuator for retracting the cannula into the housing for
     a cannula holder,                                              expelling the implant from the opening of the cannula.
     an implant accommodated inside the cannula or the                 14. The applicator according to claim 1, wherein the
        cannula holder,                                             implant contains etonogestrel.
                                                                 10
     a protective cover for the cannula, and                           15. An applicator for inserting a rod-like implant contain-
     a mechanism,                                                   ing an active substance, under the skin of a human or animal,
     wherein the cannula comprises a tube having a hollow           comprising
        interior along an axial length of the tube and terminat-       a housing,
        ing in an opening at an axial end of the tube,           15
                                                                       a cannula,
     wherein the implant is slidable through the hollow tube           a cannula holder,
        along the axial length to exit through the opening for         an implant accommodated inside the cannula or the
        insertion of the implant,                                         cannula holder,
     wherein removal of the cover causes the mechanism to              a protective cover for the cannula, and
        engage with the implant to secure the implant inside the 20    a mechanism,
        cannula or the cannula holder to prevent exit of the          wherein the cannula comprises a tube having a hollow
        implant through the opening, wherein the mechanism                interior along an axial length of the tube and terminat-
        disengages the implant during insertion of the cannula            ing in an opening at an axial end of the tube,
        or after the cannula has been inserted and prior to           wherein the implant is slidable through the hollow tube
        movement of the implant with respect to the cannula 25            along the axial length to exit through the opening for
        for expelling the implant from the cannula.                       insertion of the implant,
     2. The applicator according to claim 1, wherein the              wherein the mechanism, after the cover has been removed
  mechanism exerts substantially no force on the implant prior            from the cannula, engages with the implant to secure
  to removal of the cover and secures the implant inside the              the implant inside the cannula or the cannula holder to
  cannula upon removal of the cover.                             30       prevent exit of the implant through the opening,
                                                                          wherein the mechanism disengages the implant during
     3. The applicator according to claim 1, wherein the
                                                                          insertion of the cannula or after the cannula has been
  mechanism comprises a lever extending along at least part of
                                                                          inserted and prior to movement of the implant with
  the cannula, which lever is rotatable or slidable or flexible
                                                                          respect to the cannula for expelling the implant from
  between a first position wherein the lever engages with the 35          the cannula, and
  implant so that the implant is secured inside the cannula or        wherein the mechanism comprises a lever extending
  the cannula holder and a second position wherein the lever              along at least part of the cannula, which lever is
  is disengaged from the implant.                                         rotatable or slidable or flexible between a first position
     4. The applicator according to claim 3, wherein the                  wherein the lever engages with the implant so that the
  cannula or the cannula holder comprises an opening which 40             implant is secured inside the cannula or the cannula
  allows access to the implant, and the lever comprises a                 holder and a second position wherein the lever is
  protrusion in register with this opening to protrude through            disengaged from the implant, and
  the opening to engage with the implant.                             wherein the housing comprises a handle extending above
     5. The applicator according to claim 4, wherein the lever            at least part of the cannula and wherein, the lever is
  is biased towards the cannula or the cannula holder and 45              rotatably connected to the distal end of the handle.
  urges the implant against the inner wall of the cannula or the       16. A method for inserting an implant under the skin of a
  cannula holder.                                                   human or animal using an applicator:
     6. The applicator according to claim 3, wherein the cover,       uncovering the cannula;
  when installed, forces the lever into its second position.           securing the implant inside a cannula or cannula holder
     7. The applicator according to claim 3, wherein the lever 50         using a mechanism which engages the implant, after
  in its first position locks the cannula or cannula holder, and          uncovering the cannula;
                                                                       inserting the cannula beneath the skin;
  in its second position unlocks the cannula or cannula holder.
                                                                       disengaging the mechanism from the implant during
     8. The applicator according to claim 7, wherein the lever
                                                                          insertion of the cannula or after the cannula has been
  comprises at least one protrusion or notch, the cannula or the
                                                                 55       inserted without moving the implant with respect to the
  cannula holder comprises respectively at least one notch or             cannula; and
  protrusion, and wherein at least one respective notch and            subsequently sliding the disengaged implant along an
  protrusion interlock in the first position of the lever.                axial length of a hollow interior of the cannula to expel
     9. The applicator according to claim 1, comprising a rod             the implant from an opening at an axial end of the
  mounted on or in the housing and at least partially inside the 60       cannula;
  cannula, and an actuator for sliding the cannula and the rod        wherein securing the implant inside the cannula or can-
  relative to each other.                                                 nula holder comprises preventing exit of the implant
     10. The applicator according to claim 1 received inside a            through the opening;
  sterile package.                                                    the method further comprising removing a cover from the
     11. The applicator according to claim 1, wherein the 65              cannula prior to inserting the cannula beneath the skin,
  implant is a non-biodegradable rod measuring 40 mm in                   whereby removal of the cover causes the mechanism to
  length and 2 mm in diameter and containing etonogestrel.                engage with the implant to secure the implant.
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    17. The method of claim 16, further comprising replacing             wherein the lever is positioned so that the lever contacts
  the cover onto the cannula after expelling the implant,                   the skin of the human or animal during insertion of the
  whereby replacing of the cover without an implant being                   cannula to rotate the lever to the second position.
  present in the cannula causes locking of the cover over the          . 22. A met~o~ of contraception comprising inserting an
  cannula.                                                          5 implant contammg etonogestrel under the skin of a human or

     18. The method of claim 16, further comprising accom-            animal using an applicator comprising:
  modating the implant inside the cannula or the cannula                 a housing, a cannula, a cannula holder, an implant,
  holder while exerting substantially no force on the implant               wherein the implant is accommodated inside the can-
  prior to removal of the cover.                                            nula or the cannula holder, a protective cover for the
     _19. The method according to claim 16, further comprising 10           cannula, and a mechanism, wherein the cannula com-
  usmg an actuator to retract the cannula into the housing for              prises a tube having a hollow interior along an axial
  expelling the implant from the opening of the cannula.                    length of the tube and terminating in an opening at an
     20. The method according to claim 16, wherein the                      axial end of the tube, wherein the implant is slidable
  implant is a non-biodegradable rod measuring 40 mm in                     through the hollow tube along the axial length to exit
  length and 2 mm in diameter and containing etonogestrel. 15               throull? the opening for insertion of the implant,
     21. The applicator for inserting a rod-like implant con-               wherem removal of the cover causes the mechanism to
  taining an active substance, under the skin of a human or                 engage  with the implant to secure the implant inside the
  animal, comprising                                                        cannula or the cannula holder to prevent exit of the
     a housing,                                                             implant through the opening, wherein the mechanism
     a cannula,                                                    20       disengages the implant during insertion of the cannula
     a cannula holder,                                                      or after the cannula has been inserted and prior to
     an implant accommodated inside the cannula or the                      movement of the implant with respect to the cannula
        cannula holder,                                                     for expelling the implant from the cannula.
     a protective cover for the cannula, and                             23. The applicator according to claim 22, wherein the
                                                                   25 implant is a non-biodegradable rod measuring 40 mm in
     a mechanism,
     wherein the cannula comprises a tube having a hollow             length and 2 mm in diameter.
        interior along an axial length of the tube and terminat-         24. The method of claim 22 wherein the mechanism
        ing in an opening at an axial end of the tube,                comprises a lever extending along at least part of the
     wherein the implant is slidable through the hollow tube          cannula, which lever is rotatable or slidable or flexible
        along the axial length to exit through the opening for 30 between a first position wherein the lever engages with the
        insertion of the implant,                                     implant so that the implant is secured inside the cannula or
     wherein the mechanism, after the cover has been removed          the cannula holder and a second position wherein the lever
        from the cannula, engages with the implant to secure          is dise_ngaged from the implant, and wherein the housing
        the implant inside the cannula or the cannula holder to       compnses a handle extending above at least part of the
        prevent exit of the implant through the opening, 35 cannula and wherein, the lever is rotatably connected to the
        wherein the mechanism disengages the implant during           distal end of the handle.
        insertion of the cannula or after the cannula has been           25. The method of claim 22 wherein the mechanism
        inserted and prior to movement of the implant with            comprises a lever extending along at least part of the
        respect to the cannula for expelling the implant from         cannula, which lever is rotatable or slidable or flexible
                                                                   40 between a first position wherein the lever engages with the
        the cannula, and
     wherein the mechanism comprises a lever extending                implant so that the implant is secured inside the cannula or
        along at least part of the cannula, which lever is            the cannula holder and a second position wherein the lever
        rotatable or slidable or flexible between a first position    is disengaged from the implant, and wherein the lever is
        wherein the lever engages with the implant so that the        positioned so that the lever contacts the skin of the human
        implant is secured inside the cannula or the cannula 45 or animal during insertion of the cannula to rotate the lever
        holder and a second position wherein the lever is             to the second position.
       disengaged from the implant, and                                                     *   *   *    *   *
